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 9                                UNITED STATES DISTRICT COURT

10                           FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES,                                  Case No. 2:08-CR-00471-KJM

13                   Plaintiff,                      MOTION TO TERMINATE PRETRIAL
                                                     DIVERSION AND DISMISS CHARGES,
14            v.                                     ORDER THEREON

15   DALJIT SEKHON,
16
                     Defendant.
17

18

19            The Government and defendant Dr. Daljit Sekhon entered into a deferred prosecution

20   agreement in this matter in June 2013. The Court approved the agreement on July 10, 2013. The

21   agreement contemplated a diversionary period of six months. Pretrial Services has advised that

22   the defendant has complied with all terms and conditions of supervision. Thus, Pretrial Services

23   recommends termination of pretrial diversion.

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 1
            Now, therefore, consistent with the terms of the pretrial diversion agreement, the
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     Government requests the Court terminate Dr. Sekhon’s pretrial diversion. Further, under Federal
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     Rule of Criminal Procedure 48(a), and consistent with its obligations under the pretrial diversion
 4
     agreement, the Government moves to dismiss the charges against Dr. Sekhon. (Docket Number
 5
     1.)
 6

 7                                                        BENJAMIN B. WAGNER
     DATED: January 14, 2014                              United States Attorney
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                                                  By: /s/ Jean M. Hobler
10                                                    JEAN M. HOBLER
                                                      Assistant United States Attorney
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 1
                                                     ORDER
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            Based on the Government’s motion and the representations contained therein, the Court
 3
     finds good cause to terminate the pretrial diversion period of defendant Daljit Sekhon, and her
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     diversion period is therefore TERMINATED. The Court further grants the Government’s motion
 5
     under Rule 48 of the Federal Rules of Criminal Procedure, and dismisses the charges in the
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     Indictment as to Daljit Sekhon.
 7
     DATED: January 15, 2014.
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                                                           UNITED STATES DISTRICT JUDGE
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